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                                                                              Box containing ammo cans with destructive devices (closed)
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                                                               Destructive Devices
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                                                                   Destructive devices and initiators
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                                                               Destructive Devices
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                                                             improvised claymore
                                                             Precursors, electronic firing system and
                             -
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                                                               Destructive devices and initiators
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                                                               Destructive devices and initiators
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                                                                  Riot Gear, ammunition
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